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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

 THERON MAGEE
                                                         CIVIL ACTION NO.: 14-1554
 VERSUS
                                                         SECTION: “H”
 DISTRICT ATTORNEY WALTER REED,
                                                         MAGISTRATE: 02
 ET AL.



                                            ORDER


       Pursuant to Defendant’s Motion for Extension of Time in Which to File

Responsive Pleadings filed of record in this matter:

       IT IS ORDERED that Rodney J. “Jack” Strain, Jr., in his capacity as Sheriff of St.

Tammany Parish, sought to be made party defendant herein, be and is hereby granted a

delay of twenty (20) days from the date of this order in which to file responsive pleadings

to plaintiff’s Complaint (Rec. doc. 1) in this matter.

       New Orleans, Louisiana, this 29th day of October, 2015.




                                                    ______________________________________________
                                                                      JUDGE
